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                                    UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF VIRGINIA
                                             ABINGDON


UNITED STATES OF AMERICA                            :
                                                    :
           v.                                       :      Criminal No. 1:20CR49
                                                    :
BRETT DAVID BECKER                                  :      Violations: 21 U.S.C. §§ 331(d), 355, and
                                                    :      333(a)(2)
and                                                 :
                                                    :
ACCELERATED GENETIX, LLC                            :
(d/b/a Nutraceutical Innovations,                   :
Phenom Nutrition, and                               :
Platinum Nutraceuticals)                            :

                                              INFORMATION

                                             INTRODUCTION

           The United States Attorney charges that:

           1.         At all times relevant to this information, Brett David Becker (“Becker”) was a

Texas resident and United States citizen.

           2.         Accelerated Genetix, LLC (“Accelerated”) is a Texas company incorporated by

Becker on or about March 5, 2014, with its principal place of business in Texas. Becker

incorporated Accelerated for the purpose of manufacturing and distributing what he called

“nutraceuticals” and dietary supplements, including products that contained Selective Androgen

Receptor Modulators (“SARMs”), throughout the United States.

           3.         Becker and Accelerated are collectively referred to as the Defendants.

           4.         The Food and Drug Administration (“FDA”) of the United States Department of

Health and Human Services regulates the manufacture and distribution of all food (including

dietary supplements) and drugs shipped or received in interstate commerce through enforcement

of the Federal Food, Drug, and Cosmetic Act. 21 U.S.C. § 301, et seq. (“FDCA”). The

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requirements of the FDCA, in part, are meant to ensure that food and drugs sold for human use

are safe and bear labeling that contains accurate and adequate information.

           5.         The FDCA defines a “drug” in relevant part, as (1) any article intended for use in

the diagnosis, cure, mitigation, treatment or prevention of disease in man or other animal; (2) any

article (other than food) intended to affect the structure or any function of the body; or (3) any

article used as a component of either. 21 U.S.C. § 321(g). Whether an article is a drug is

determined by its intended use, which is defined as “the objective intent of persons legally

responsible for the labeling of drugs.” The intent is determined by “such person’s expressions or

may be shown by the circumstances surrounding the distribution of the article.” Such intent may

be shown by labeling claims, advertising matter, or oral or written statements by such persons or

their representatives. 21 C.F.R. § 201.128.

           6.         A drug is misbranded under the FDCA if its label is false or misleading in any

particular, fails to bear adequate direction for use, or fails to bear adequate warnings. 21 U.S.C. §

352(a)(1); 21 U.S.C. § 352(f).

           7.         Some drugs are “new drugs,” which are defined as any drugs the composition of

which are not generally recognized, among experts qualified by scientific training and

experience to evaluate the safety and effectiveness of drugs, as safe and effective for use under

the conditions prescribed, recommended, or suggested in their labeling. 21 U.S.C. § 321(p). It is

a prohibited act for any person to introduce or deliver for introduction or to cause the

introduction or delivery for introduction into interstate commerce any new drug unless it has

been the subject of a new drug application approved by FDA. 21 U.S.C. § 331(d), 355(a). Such

introduction or delivery for introduction into interstate commerce is a felony violation when it is

done with the intent to defraud and mislead. 21 U.S.C. § 333(a)(2). Unlike drugs, dietary



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supplements are not subject to the requirement that manufacturers and distributors obtain FDA

approval before introducing such products into interstate commerce.

           8.         SARMs are synthetic chemicals designed to mimic the effects of testosterone and

other anabolic steroids. Products containing SARMs that are marketed and distributed for body-

building purposes, i.e. to increase muscle mass, are drugs. FDA issued a public safety alert in

2017 warning consumers against ingesting products containing SARMs because these products

had been linked to life-threatening reactions, including liver toxicity, and have the potential to

increase the risk of heart attack and stroke.

           9.         On March 5, 2014, Becker established Accelerated Genetix LLC, listing several

trade names under the business filing, including Nutraceutical Innovations, Phenom Nutrition

and Platinum Nutraceuticals. Becker also manufactured products under the brand name Alchemy

Labs Nutrition. During the operation of this business, Becker imported SARMs and other

ingredients from China to his business address in Texas; created, bottled, and labeled drug

products containing these ingredients; marketed these products to those in the body-building and

fitness community to increase muscle mass or otherwise affect the structure or function of the

body; and distributed these SARM products in interstate commerce from Texas to places

throughout the United States, including in the Western District of Virginia.

           10.        Beginning on or about January 2016 and continuing to March 2019, Defendants

regularly introduced unapproved new drugs into interstate commerce with the intent to mislead

and defraud the FDA and consumers by: (1) knowingly misrepresenting products as “dietary

supplements” rather than drugs and (2) knowingly failing to obtain regulatory approval for these

new drugs.




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           11.        Defendants introduced and delivered for introduction, and caused the introduction

or delivery for introduction into interstate commerce, the following new drugs on or about the

dates indicated below:

 Date            Invoice Product          Active Ingredients                       Shipped     Shipped to
                 Number Name                                                       From
 March 21, 518              Alchemy      3b hydroxy-androst-5-ene-17-one           Spring,     Western
 2018                       Labs         Dehydroandrosterone                       Texas       District of
                            Shredded3    5a-androstan-3b-ol-17-one                             Virginia
                                         5a-androstan-3a-ol-17-one
                                         Bis-Maltolato-Oxovanadium
 March 21, 518              Alchemy      3b hydroxy-androst-5-ene-17-one           Spring,     Western
 2018                       Labs Tri-    Androst-5-ene-3b-ol-17-one                Texas       District of
                            AD Mass      5a-androstan-3a-ol-17-one                             Virginia
                                         Dehydroandrosterone
 April 4,        10438      PN-SARM      {4-((4-methyl-2-(4-                       Valrico,    Western
 2018                       GW           (trifluoromethyl)phenyl]-1,3-thiazol-5-   Florida     District of
                                         yl}methyl)sulfanyl]-2-                                Virginia
                                         methylphenoxy}acetic acid
 April 4,        10438      PN Quad      Androst-3,5-Dien-7, 17-Dione              Valrico,    Western
 2018                       Mass         5a-Hydroxy-Laxogenin                      Florida     District of
                                                                                               Virginia

 April 4,        10438      PN GH-       MK-677 (lbutamoren)                       Valrico,    Western
 2018                       PRO                                                    Florida     District of
                                                                                               Virginia

 July 31,        13784      PN Quad      5a-Hydroxy-Laxogenin;                     Valrico,    Western
 2018                       Mass         Androst-3, 5-Dien-7, 17-Dione;            Florida     District of
                                         ((2S)-3-(4-cyanophenoxy)-N-[4-cyano-3-                Virginia
                                         (trifluoromethyl)phenyl]-2-hydroxy-2-
                                         methylpropanamide);
                                         4-((R)-2-((R)-2,2,2-Trifluoro-1-
                                         hydroxyethyl)pyrrolidin-1-yl)-2-
                                         (trifluoromethyl)benzonitrile
 July 31,        1822       Innovations Heptadrol Muscle Matrix;                   Valrico,    Western
 2018                       Heptdarol   5a-Androstan-3b-ol-17-one;                 Florida     District of
                                        Androst-5-ene-3b-ol-17-one;                            Virginia
                                        Androst-4-ene-17b-ol-3, 11-dione;
                                        5a-Androstan-3a-ol-17-one;
                                        Androst-4-ene-3, 11, 17-trione;
                                        Androst-5-ene-3b, 7, 17b-triol;
                                        3-AD/Dehydroandrosterol
 August          N/A        SARM         5a-Hxdro-Iaxogenin                        Lewisville, Western
 25, 2018                   Maxx         Epiandrosterone                           Texas       District of
                                         Ostarine                                              Virginia
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 November 16144             Quad         5a-Hydroxy-Laxogenin;                    Valrico,    Western
 5, 2018                    (SARMS)      Androst-3, 5-Dien-7, 17-Dione;           Florida     District of
                            Mass         ((2S)-3-(4-cyanophenoxy)-N-[4-cyano-3-               Virginia
                                         (trifluoromethyl)phenyl]-2-hydroxy-2-
                                         methylpropanamide);
                                         4-((R)-2-((R)-2,2,2-Trifluoro-1-
                                         hydroxyethyl)pyrrolidin-1-yl)-2-
                                         (trifluoromethyl)benzonitrile

           12.        All of the above products had associated labeling that claimed they affected the

structure or function of the body, rendering them drugs under 21 U.S.C. § 321(g)(1). The above

products also were new drugs that required FDA approval before they could be lawfully

distributed in interstate commerce. These products also failed to bear labeling with adequate

directions for use, as is required for new drugs. 21 CFR 201.100.

           13.        Becker knowingly took steps to mislead and defraud the Government and

consumers in the sale of the above products. Becker knew certain ingredients in the above

products were subject to scrutiny by government law enforcement agencies, including the FDA

and United States Customs, yet he continued to import these ingredients even after learning they

were mislabeled by the distributor when they were shipped from China to the United States.

Becker further marketed some of the above products as “dietary supplements” to create the false

impression they were safe and legal to use.

           14.        As indicated above, Becker also manufactured custom orders, including for new

drugs, despite knowing it was illegal to introduce unapproved new drugs into interstate

commerce. For example, in or around August 2018, Becker and Accelerated manufactured

“SARM Maxx,” a product containing the SARM Ostarine, and shipped the product to an

undercover special agent posing as a customer who wanted to purchase products to increase

muscle growth. After Accelerated Genetix was sued in connection with its Platinum

Nutraceuticals brand products, Accelerated Genetix ceased manufacturing those products but

nonetheless continued to manufacture SARM products for customers under their own brand
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names, including, but not limited to, the private-label SARM product as requested by the

undercover agent.

           15.        During the period of 2016 to 2019, the Defendants distributed more than

$3,531,055 worth of the above drugs.

                                                COUNT ONE

           The United States Attorney charges that:

           16.        The Introduction is re-alleged and incorporated by reference.

           17.        From on or about January 1, 2016, through on or about March 27, 2019, BRETT

BECKER and ACCELERATED GENETIX, with the intent to defraud and mislead, introduced

and delivered for introduction into interstate commerce quantities of new drugs, which FDA had

not approved for distribution in the United States, from various locations outside the state of

Virginia to various locations in the Western District of Virginia and elsewhere.

           18.        BRETT BECKER used his business entity, ACCELERATED GENETIX, to

cause the interstate distribution of unapproved new drugs throughout the United States and

elsewhere.

           19.        All in violation of 21 U.S.C. §§ 331(d), 355, and 333(a)(2).

                                          NOTICE OF FORFEITURE

           20.        Upon conviction of the offense alleged in this Information, BRETT BECKER and

ACCELERATED GENETIX, shall forfeit to the United States unapproved new drugs, pursuant

to 21 U.S.C. § 334 and 28 U.S.C. § 2461, that were shipped to various locations in the Western

District of Virginia and elsewhere.

           21.        Because the above-described forfeitable property has been transferred and sold to

third parties and cannot be located upon the exercise of due diligence, the United States intends

to seek forfeiture of $3,531,055 pursuant to 21 U.S.C. § 853(p).

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DATED: December 18, 2020

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